     Case 4:20-cv-05146-YGR          Document 681       Filed 05/31/22    Page 1 of 5




 1   BLEICHMAR FONTI & AULD LLP                       QUINN EMANUEL URQUHART &
     Lesley Weaver (Cal. Bar No.191305)               SULLIVAN, LLP
 2   Angelica M. Ornelas (Cal. Bar No. 285929)        Andrew H. Schapiro (admitted pro hac vice)
     Joshua D. Samra (Cal. Bar No. 313050)            andrewschapiro@quinnemanuel.com
 3   555 12th Street, Suite 1600                      191 N. Wacker Drive, Suite 2700
     Oakland, CA 94607                                Chicago, IL 60606
 4   Tel.: (415) 445-4003
     Fax: (415) 445-4020                              Tel: (312) 705-7400
 5   lweaver@bfalaw.com                               Fax: (312) 705-7401

 6   DICELLO LEVITT GUTZLER                           Stephen A. Broome (CA Bar No. 314605)
     David A. Straite (admitted pro hac vice)         stephenbroome@quinnemanuel.com
 7   One Grand Central Place                          Viola Trebicka (CA Bar No. 269526)
     60 East 42nd Street, Suite 2400
 8                                                    violatrebicka@quinnemanuel.com
     New York, New York 10165
     Tel.: (646) 933-1000                             865 S. Figueroa Street, 10th Floor
 9   dstraite@dicellolevitt.com                       Los Angeles, CA 90017
                                                      Tel: (213) 443-3000
10   Amy E. Keller (admitted pro hac vice)            Fax: (213) 443-3100
     Ten North Dearborn Street, 6th Fl.
11   Chicago, Illinois 60602                          Counsel for Defendant; additional counsel
     Tel.: (312) 214-7900                             listed in signature blocks below
12
     akeller@dicellolevitt.com
13
     SIMMONS HANLY CONROY LLC
14   Jason ‘Jay’ Barnes (admitted pro hac vice)
     An Truong (admitted pro hac vice)
15   112 Madison Avenue, 7th Floor
     New York, NY 10016
16   Tel.: (212) 784-6400
     Fax: (212) 213-5949
17   jaybarnes@simmonsfirm.com

18   Counsel for Plaintiffs

19                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
20                                   OAKLAND DIVISION

21
     PATRICK CALHOUN, et al., on behalf of             Case No. 4:20-cv-5146-YGR-SVK
22   themselves and all others similarly situated,
            Plaintiffs,                              JOINT STIPULATION AND [PROPOSED]
23                                                   ORDER EXTENDING TIME FOR
            v.                                       GOOGLE TO SUBMIT DECLARATION IN
24
                                                     SUPPORT OF PLAINTIFFS’ MOTION TO
25   GOOGLE LLC,                                     CONSIDER WHETHER ANOTHER
         Defendant.                                  PARTY’S MATERIAL SHOULD BE
26                                                   SEALED (DKT. 669)

27                                                   Judge:   Honorable Susan van Keulen
28
                                                                    Case No. 4:20-cv-5146-YGR-SVK
                 JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME FOR GOOGLE TO SUBMIT
                                DECLARATION IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL (DKT. 669)
     Case 4:20-cv-05146-YGR           Document 681        Filed 05/31/22      Page 2 of 5




 1          Pursuant to Civil Local Rule 6-2, this joint stipulation is entered into between Plaintiffs and
 2 Google LLC (“Google”), collectively referred to as the “Parties.”

 3          WHEREAS, on May 24, 2022, Plaintiffs filed their Administrative Motion to Consider
 4 Whether Another Party’s Material Should Be Sealed (Dkt. 669);

 5          WHEREAS, on May 24, 2022, Google received unredacted copies of Plaintiff’s unredacted
 6 documents cited in Dkt. 670 under seal and submitted with Dkt. 669;

 7          WHEREAS, pursuant to Civil Local Rule 79-5(e), the current deadline for Google, as the
 8 Designating Party, to establish that such designated material is sealable, is by Tuesday, May 31,

 9 2022;
10          WHEREAS, the Parties agree that an extension of time of 7 days will provide Google with
11 sufficient time to submit its declaration in support of its designated materials in the filings (Dkts.

12 669, 670);

13          NOW THEREFORE, the Parties stipulate to extend the deadline by which Google shall
14 submit a Declaration in support of Plaintiffs’ Motion to Consider Whether Another Party’s Material

15 Should Be Sealed (Dkt. 669) to June 7, 2022.

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                  1                Case No. 4:20-cv-5146-YGR-SVK
                JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME FOR GOOGLE TO SUBMIT
                               DECLARATION IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL (DKT. 669)
     Case 4:20-cv-05146-YGR          Document 681     Filed 05/31/22     Page 3 of 5




 1 DATED: May 31, 2022
   BLEICHMAR FONTI & AULD LLP                     QUINN EMANUEL URQUHART &
 2                                                SULLIVAN, LLP
 3
     By:      /s/ Lesley Weaver                   By: /s/ Andrew H. Schapiro
 4   Lesley Weaver (Cal. Bar No. 191305)          Andrew H. Schapiro (admitted pro hac vice)
     Angelica M. Ornelas (Cal. Bar No. 285929)    andrewschapiro@quinnemanuel.com
 5   Joshua D. Samra (Cal. Bar No. 313050)
     555 12th Street, Suite 1600                  191 N. Wacker Drive, Suite 2700
     Oakland, CA 94607                            Chicago, IL 60606
 6
     Tel.: (415) 445-4003                         Telephone: (312) 705-7400
 7   Fax: (415) 445-4020                          Facsimile: (312) 705-7401
     lweaver@bfalaw.com
 8   aornelas@bfalaw.com                          Stephen A. Broome (CA Bar No. 314605)
     jsamra@bfalaw.com                            sb@quinnemanuel.com
 9                                                Viola Trebicka (CA Bar No. 269526)
                                                  violatrebicka@quinnemanuel.com
10 DICELLO LEVITT GUTZLER
                                                  865 S. Figueroa Street, 10th Floor
11 By:     /s/ David Straite                      Los Angeles, CA 90017
   David A. Straite (admitted pro hac vice)       Telephone: (213) 443-3000
12 One Grand Central Place                        Facsimile: (213) 443-3100
   60 East 42nd Street, Suite 2400
13 New York, New York 10165                       Jomaire Crawford (admitted pro hac vice)
   Tel.: (646) 933-1000
                                                  jomairecrawford@quinnemanuel.com
14 dstraite@dicellolevitt.com
                                                  51 Madison Avenue, 22nd Floor
15 Amy E. Keller (admitted pro hac vice)          New York, NY 10010
   Ten North Dearborn Street, 6th Fl.             Telephone: (212) 849-7000
16 Chicago, Illinois 60602                        Facsimile: (212) 849-7100
   Tel.: (312) 214-7900
17 akeller@dicellolevitt.com                      Josef Ansorge (admitted pro hac vice)
18 SIMMONS HANLY CONROY LLC                       josefansorge@quinnemanuel.com
                                                  Carly Spilly (admitted pro hac vice)
19                                                carlspilly@quinnemanuel.com
     By:       /s/ Jay Barnes                     1300 I Street NW, Suite 900
20   Jason ‘Jay’ Barnes (admitted pro hac vice)   Washington D.C., 20005
     An Truong (admitted pro hac vice)
     112 Madison Avenue, 7th Floor                Telephone: (202) 538-8000
21                                                Facsimile: (202) 538-8100
     New York, NY 10016
22   Tel.: (212) 784-6400
     Fax: (212) 213-5949                          Jonathan Tse (CA Bar No. 305468)
23   jaybarnes@simmonsfirm.com                    jonathantse@quinnemanuel.com
     atruong@simmonsfirm.com                      50 California Street, 22nd Floor
24                                                San Francisco, CA 94111
     Counsel for Plaintiffs                       Telephone: (415) 875-6600
25                                                Facsimile: (415) 875-6700
26
                                                  Attorneys for Defendant Google LLC
27

28
                                                  2                 Case No. 4:20-cv-5146-YGR-SVK
                 JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME FOR GOOGLE TO SUBMIT
                                DECLARATION IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL (DKT. 669)
     Case 4:20-cv-05146-YGR           Document 681        Filed 05/31/22      Page 4 of 5




 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2          I am the ECF user whose ID and password are being used to file this Joint Stipulation and

 3 [Proposed] Order Extending Time for Google to Submit Declaration in Support of Plaintiffs’ Motion

 4 to Consider Whether Another Party’s Material Should Be Sealed (Dkt. 669). Pursuant to Civil L.R.

 5 5-1(i)(3), I hereby attest that each of the signatories identified above has concurred in the filing of

 6 this document.

 7

 8 Dated: May 31, 2022

 9

10                                                /s/ Andrew H. Schapiro
                                                     Andrew H. Schapiro
11
                                                  Counsel on behalf of Google
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                 3                 Case No. 4:20-cv-5146-YGR-SVK
                JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME FOR GOOGLE TO SUBMIT
                               DECLARATION IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL (DKT. 669)
     Case 4:20-cv-05146-YGR         Document 681       Filed 05/31/22     Page 5 of 5




 1                                      [PROPOSED] ORDER

 2         Pursuant to stipulation of the Parties, the Court hereby ORDERS:

 3         The deadline for Google to Submit Declaration in Support of Plaintiffs’ Motion to Consider

 4 Whether Another Party’s Material Should Be Sealed (Dkt. 669) shall be extended to June 7, 2022.

 5

 6

 7         IT IS SO ORDERED.

 8 DATED: _______________, 2022                        _______________________________

 9                                                     Hon. Susan van Keulen
                                                       United States Magistrate Judge
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                4                 Case No. 4:20-cv-5146-YGR-SVK
               JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME FOR GOOGLE TO SUBMIT
                              DECLARATION IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL (DKT. 669)
